Case 1:05-cr-10058-.]DT Document 6 Filed 07/29/05 Page 1 of 2 Page|D 10

FFLED BY___~_Q,____ D`C,

IN THE UNITED STATES DISTRICT CoURT 05 JUL 29 ph 3.
FoR THE WESTERN DISTRICT oF TENNESSEE '25
EASTERN DIvISIoN

 

UNITED STATES OF AMERICA
VS. CR NO 05-10058-01-T
LAVERNE HARDIN

ORDER ON GUILTY PLEA

This cause came on to be heard on July 29, 2005, Assistant U.
S. Attorney Victor Ivy, representing the government, and the
defendant appeared in person and with counsel, M. Dianne Smothers,
who Was appointed.

Upon arraignment, the defendant through counsel, entered a
plea of GUILTY as charged in the One Count Information.

This case is set for sentencing on 'I‘h\.lr:i=~»¢:'lag,[l October 27c 2005
at 8:45 a.m. rI'he defendant is released on her own Recognizance.

I’l" IS SO ORDERED.

MZ).M

 

JAME . ToDD

UNITE sTATEs DISTRICT JUDGE
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DATE: 4 2535

 

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Thls document entered on the docket sheet |n compliance
with nu:e 55 and/or a2(b) frach on 03 ' 03 ' a

 

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This notice confirms a copy of the document docketed as number 6 in
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M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

